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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF MISSISSIPPI

GREENVILLE DIvIsloN
THE ESTATE oF CHARLES E. EDWARDS, BY F!LED
AND THRoUGH NEvoNNIA TURNER, AS am a
ADMINISTRATRIX oF THE ESTATE oF cHARLEs BA ‘/ / 5 2007
E. EDWARDS, FoR THE USE AND BENEFIT oF THE ay w_S
ESTATE oF CHARLES E. EDWARDS, DECEASED 5§§2*£.
AND THE WRoNGFUL DEATH BENEFICIARIES oequ
oF CHARLES E. EDWARDS, DECEASED PLAINTIFF
vs. CIvlL ACTION NUMBER: Ll"O'l C \/ l_l“l ~(|>:/)>

 

MARINEI~; HEALTH CARE, INC.; GRANCARE, INC.;
EVERGREEN HEALTHCARE, INC.; NATIONAL
HERITAGE REALTY, INC.; JOHN DOES l THROUGH 10;
AND UNIDENTIFIED ENTITIES l THROUGH lO;
(AS TO GREENWOOD HEALTH & REHABILITATION
CENTER F/K/A HERITAGE HEALTHCARE-GREENWOOD) DEFENDANTS
NOTICE OF REMOVAL

CC ME NOW defendants, Mariner Health Care, Inc.; Grancare, Inc.; Evergreen
Healthcare;, lnc.; and, National Heritage Realty, Inc. and file Notice of Removal of this action
to the Uni"ted States District Court for the Northern District of Mississippi, Greenville
Division, and in support thereof would show unto this Court the following, to-Wit:

l. l On or about December 7, 2001, plaintiff commenced against Mariner Post-
Acute Network, Inc.; George D. Morgan; M. Scott Athans; J.D. Lee; Charlie R. Sinclair, Jr.;
Angela M.;' Whittington; and, John H. Merrell,l in the Circuit Court of Leflore County,
Mississippi, a civil action to recover compensatory and punitive damages for alleged

negligence, medical malpractice, malice and/or gross negligence, fraud and breach of

fiduciary duty, all relative to the care and treatment of Charles E. Edwards, While he was a

 

Plaintiff also sued John Does l through lO; and Unidentified Entities l through lO.

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resident of dreenwood Health & Rehabilitation Center. A copy of the plaintiff s complaint
filed on December 7 , 2001, in the Circuit Court of Leflore County, Mississippi, being Civil
Action Number: 2001-0172-CI in its docket, is attached hereto as Exhibit “A”.

2. Subsequently, on November 4, 2002, plaintiff filed her amended complaint
which substituted Mariner Health Care, Inc., for Mariner Post-Acute Network, Inc., and
added as defendants National Heritage Realty, Inc.; Grancare, Inc.; and, Evergreen
Healthcare) Inc. A copy of the plaintiff s amended complaint is attached hereto as Exhibit
“B”.Z The only non-diverse defendants in the lawsuit were the nursing home administrators,
Charlie R. Sinclair, Jr., Angela M. Whittington, and John H. Merrell, all of whom were
residents of the State of Mississippi, as was plaintiff

3. j On September 13, 2007, the Mississippi Supreme Court handed down its
decision int the case of Mariner Health Care, Inc. v. Estate of Edwards, ex rel. Turner, --
So.Zd _, 2007 Westlaw 26703 08 (Miss.), in which the Court held, inter alia, that the non-
diverse nursing home administrator defendants were improperly joined in the lawsuit and
must be dismissed Id. at 15 . The mandate was issued on this decision October 4, 2007.

4. : 28 U.S.C.A. §1446 provides, in part, that a case is removable within thirty
(30) days after service of the initial pleading or after receipt by the defendant “of a copy of
an . . . order or other paper from which this case is one which is or has become removable
. . . .” l446(b). The decision of the Mississippi Supreme Court constitutes an order or other

paper from which this case is or has become removable under Section l446(b). There is

 

A certified copy of all records and proceedings in the state court action will be
requested and filed herein upon direction of this court.

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complete diversity of citizenship between the properly j oined parties to this litigation and the
matter in controversy is in excess of the sum or value of $75,000.00, exclusive of interest and
costs, as evidenced from the allegations contained in the complaint

5. Section l446(b) requires that a case removed based upon diversity j urisdiction
(such as this case) must be removed within one year after commencement of the suit. This
removal is more than one year from the filing of the complaint herein; however, there are
judicially-created equitable exceptions to the one-year rule. In Tedford v. Warner Lambert
Co. , 327 F.3d 423, (5th Cir. 2003), the Fifth Circuit held, as to the one-year limit, “the time
limit for removal is not jurisdictional; it is merely modal and formal and may be waived.”
Id. at 426, citing Leininger v. Leininger, 705 F.Zd 727, 729 (5th Cir. 1983). In Caterpillar,
Inc. v. Levi)is, 519 U.S. 61, l 17 S.Ct. 467, 136 L.Ed.2d 437 (1996), the United States
Supreme Court held that the existence of subject matter jurisdiction at the time of trial
eclipsed the lack of subject matter jurisdiction at the time of removal. These cases, and
others, create a pattern of equitable tolling of the one-year deadline which supports tolling
of the deadline in this case.

6. Defendants request an equitable exception to the one-year rule in this case.
Years ago the administrator defendants sought dismissal from this lawsuit on essentially the
same basisused by the Mississippi Supreme Court in Howard v. Harper, 947 So.2d 854
(Miss. 2006), to hold that nursing home administrators are not proper parties in nursing home
cases alleging negligent nursing care. The Court relied upon its ruling in Howard to hold
that the non-diverse nursing home administrators in the case sub judice should have been

dismissed ' Edwards, supra The amended complaint in this case is virtually identical to the

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complaint in Howara', supra, both lawsuits having been filed by the same firm. This case
and the Hr)wara’ case Were just two of numerous identical lawsuits filed in which the
non-diverse administrator defendants were improperly joined to defeat diversity jurisdiction
This pattern of fraudulent joinder justifies application of an equitable exception to the one
year rule in this case.

7 . Defendants do not waive any defenses to which they may be entitled and
specifically reserve same.

8. " Defendants promptly after filing this notice will give and are giving notice
thereof to all adverse parties and to the Circuit Court of Leflore County, Mississippi, and are
further filing a copy of this notice with said circuit clerk.

9. j Defendants herein reserve the right to supplement this notice of removal by
adding any jurisdictional grounds or defenses which may independently support a basis for
removal. z

THIS, the 12 416 day of October, 2007,

Respectfully submitted,
MARINER HEALTH CARE, INC.; GRANCARE,
INC.; EVERGREEN HEALTHCARE , INC.; and,

NATIONAL HERITAGE REALTY, INC.

WILKINS, STEPHENS & TIPTON, P.A.

BY; J/&C/} M/\

L. CARL HAGWOOD (MSB #2039)
MICHAEL E. PHILLIPS (MSB #100119)
FAYE MURPHREE JAMES (MSB #2990)
SENITH C. TIPTON (MSB #8227)

 

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WILKINS,. STEPHENS & TIPTON, P.A.
One LeFle'er's Square

4735 Old Canton Road

Post Office Box 13429

Jackson, l\/fississippi 39236-3429

Phone: 601-366-4343

Fax: 601-981-7608

CERTIFICATE OF SERVICE
I, Faye M. James, the undersigned attorney for defendants, do hereby certify that l
have this day mailed, by United States mail, postage prepaid, a true and correct copy of the
above and foregoing Notice of Removal to the following:

A. Lance Reins, Esquire
Wilkes & McHugh, P.A.

16 Office Park Drive, Suite 8
Post Office Box 17107
Hattiesburg, Mississippi 39402
Attorneys for Plaintiff

Honorable Trey Evans

Circuit Clerk, Leflore County
310 West Market Street [3 893 0]
Post Office Box 1953
Greenwood, Mississippi 38935

THIS, the /q:'i] day of October, 2007.

BY: 030@/§ /2“"

L. CARL IiAGWOOD (MSB #2039)
MICHAEL E. PHILLIPS (MSB #100119)
FAYE MURPHREE JAMES (MSB # 2990)
SENITH C. TIPTON (MSB #8227)

 

